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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Shane Boda,

               Plaintiff,

v.
                                                             Case No. 0:19-CV-01437-SRN-HB
American State Equipment Co., Inc.,
Manitowoc Crane Companies, LLC,
Manitowoc Cranes, LLC, and Viant
Crane Service, LLC,

               Defendants,

and

Viant Crane Service, LLC,

               Third Party Plaintiff,

v.

Brown Tank, LLC,

               Third-Party Defendant.


             ANSWER OF THIRD-PARTY DEFENDANT BROWN TANK, LLC


       Third-party defendant Brown Tank, LLC, for its Answer to the Third-Party Complaint of

Viant Crane Service, LLC, states and alleges as follows:

       1.      Denies each and every matter, statement, and thing in said Third Party Complaint,

in each and every part and portion thereof, except as hereinafter specifically admitted.

       2.      Admit Paragraphs I and II of said Third Party Complaint.




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       3.      Denies that plaintiff Shane Boda and third-party plaintiff Viant Crane Service were

caused to sustain any injuries or damages as the result of any negligence or unlawful conduct

attributable to Brown Tank.

       4.      Alleges that any injuries or damages that plaintiff may have sustained were caused

or contributed to by the negligence or other unlawful conduct of plaintiff or other third parties over

whom Brown Tank had no control.

       5.      Alleges that the Third-Party Complaint fails to state a claim on which relief can be

granted.

       6.      Alleges that the Third-Party Complaint is barred by the exclusive remedy

provisions of the Minnesota Workers' Compensation Act, Minn. Stat. § 176.001, et seq.

       7.      Alleges that plaintiff's Complaint is barred by the applicable statute of limitations.

       WHEREFORE, Third Party Defendant Brown Tank, LLC, prays judgement as follows:

       1. That the Third-Party Complaint be dismissed;

       2. That Third-Party Defendant Brown Tank, LLC, have and recover its

            reasonable cost and disbursements herein.

                                               DRAWE & MALAND

                                               /s/ Scott P. Drawe
Dated: November 12, 2019                       ______________________________________
                                               Scott P. Drawe, MN ID: 148325
                                               Attorneys for Third-Party Defendant
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                                     ACKNOWLEDGMENT

       The parties represented by the undersigned attorneys acknowledges that monetary and/or

nonmonetary sanctions may be awarded pursuant to Minnesota Statute Section 549.211 against a

party for claims made in violation of that statute.



                                               /s/ Scott P. Drawe
                                               ___________________________________
                                               Scott P. Drawe, MN ID: 148325




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